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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

KERRICK WATSON                                                                           PLAINTIFF

V.                                                    CIVIL ACTION NO. 3:16-cv-987-CWR-FKB

ALLSTATE PROPERTY AND CASUALTY
INSURANCE COMPANY                                                                      DEFENDANT


              ORDER DENYING WITHOUT PREJUDICE PLAINTIFF’S
            MOTION FOR REQUEST OF DETERMINATION OF PRIVILEGE

       Before the Court are Plaintiff’s Motion for Request for Determination of Privilege [64],

and Motion for Leave to File Document Under Seal [65]. Watson requests that the Court determine

whether forty-one pages, which Defendant claims were inadvertently disclosed, are privileged.

[64]. Plaintiff’s motion is little more than a page in length and unaccompanied by a memorandum

of legal authorities, as required by L.U.Civ.R. 7(b)(4). Consequently, the Court is without

sufficient information to rule on Plaintiff’s motion. Further, Plaintiff did not request a Fed. R. Civ.

P. 16(b)(3)(v) conference with the undersigned to address this issue prior to filing the instant

motion, as required by section 6(F)(4) of the Case Management Order. See [17] at 3. For these

reasons, motion [64] is denied without prejudice.

       In motion [65], Plaintiff seeks leave to submit under seal the forty-one pages of documents

at issue in motion [64]. This motion is also unaccompanied by a supporting memorandum, as

required by L.U.Civ.R. 79(e)(3). For this reason, and in light of motion [64] being denied without

prejudice, motion [65] is also denied without prejudice.

       SO ORDERED, this the 11th day of January, 2018.

                                                 /s/ F. Keith Ball
                                                UNITED STATES MAGISTRATE JUDGE



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